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                      UNITED STATES DISTRICT COlfHT
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                             DISTRICT OF MONTANA

                                   BILLINGS DIVISION

                                        )
Jamie Swecker, individually and         )

on behalf of all similarly situated     )          CaseNo.1:10-CV-0113-RFC 

Deputy Sheriffs of Yellowstone          )

County, et aI.,                         )
                                        )                  ORDER
                     Plaintiffs,        )
                                        )
versus                                  )
                                        )
Yellowstone County, acting by           )
and through the Yellowstone             )
County Sheriff's Office, and            )
individually, Jay Bell and Mary         )
Matteson,                               )
                                        )
                     Defendants.        )



         Pursuant to the parties' "Settlement Agreement and Stipulation To Dismiss

Counts I and II of the First Amended Complaint" filed on June 4, 2011,

         IT IS HEREBY ORDERED that

      (a) all claims set forth in Counts I and II of the First Amended Complaint

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[Court Doc. 3] in the above entitled matter are dismissed with prejudice as fully

and finally settled on the nlerits, with costs and attorney fees to be paid in

accordance with the parties' stipulation;

      (b) all of the named plaintiffs, excepting only Plaintiff Jamie Swecker, are

hereby terminated as party plaintiffs to this case; and

      (c) the caption is hereby amended on this date to read "Jamie Swecker,

Plaintiff, versus Yellowstone County, acting by and through the Yellowstone

County Sheriff's Office, and individually, Jay Bell and Mary Matteson,

Defendants. "

      F or purposes of proceeding with Counts III, IV and V as set forth in the

First Amended Complaint, the remaining parties shall proceed in accordance with

this Court's pretrial Scheduling Order [Court Doc~ssued May 18,2011.

                    DONE AND DATED TIllSL DAY of June, 2011




                    Richard F. Cebul ,Chief DIstrict Judge
                    United States District Court




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